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14                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
15                                   SAN FRANCISCO DIVISION
16

17   FEDERAL TRADE COMMISSION,
18                 Plaintiff,
                                                      Case No. 3:23-cv-2880
19          v.
                                                      PLAINTIFF FEDERAL TRADE
20   MICROSOFT CORP.                                  COMMISSION’S BENCH BRIEF
21   and                                              REGARDING DEFENDANTS’
                                                      PROFFERED TESTIMONY
22   ACTIVISION BLIZZARD, INC.,                       REGARDING MICROSOFT’S
                                                      AGREEMENTS
23                 Defendants.
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28   PLAINTIFF’S BENCH BRIEF REGARDING DEFENDANTS’ PROFFERED TESTIMONY REGARDING
     MICROSOFT’S AGREEMENTS
     CASE NO. 3:23-CV-2880
1           Defendants intend to offer fact and expert witness testimony that certain Microsoft

2    agreements will benefit consumers even though Defendants claimed privilege over evidence of

3    the bases for those witnesses’ opinions. The FTC is not requesting a finding of waiver or to

4    pierce the privilege, which may indeed have been properly asserted. Fairness, however, requires

5    precluding Defendants from eliciting testimony now that elaborates on topics over which they

6    previously claimed privilege.

7           Shortly before the Federal Trade Commission (the “FTC”) brought its administrative

8    challenge to Microsoft’s proposed acquisition of Activision, Microsoft hastily sought

9    agreements with some of its competitors as part of an eleventh-hour attempt to assuage the

10   concerns of regulators. Microsoft signed side deals with Nintendo, Nvidia, and foreign cloud

11   providers and proposed an agreement to Sony (collectively, the “Agreements”). Although the

12   Agreements’ terms and conditions differ, they all purport to bring Activision content to rivals’

13   platforms contingent on the consummation of the Proposed Acquisition. Defendants intend to

14   make the Agreements central to their defense. See, e.g., Defs.’ Conclusions of Law at ¶ 76

15   (“The FTC must account for the ‘economic reality’ of these existing contracts as part of its

16   burden….”); Defs.’ Findings of Fact at ¶ 137 (“Post-transaction (and post-porting),

17   approximately 100 million gamers would be able to play Call of Duty on their existing

18   Nintendo devices for the first time in many years.”); Defs.’ Mem. Of Law in Opp. to Mot. for

19   Prelim. Inj. (ECF 108) at 22 (“FTC does not even try to make that showing, nor could it—

20   particularly in light of the binding contracts Microsoft has already struck with Nvidia and other

21   cloud providers.”).

22          The Agreements, however, are filled with loopholes1 and speculative commitments.2

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24     Paragraph 7.4 of the Nvidia agreement, “Unanticipated and Unforeseeable Future Events,”
     allows Microsoft to renegotiate its agreement with Nvidia if Microsoft unilaterally decides
25   that existing terms would be “impracticable, unduly onerous, or uneconomic.”
26

27   (Continued…)
28   PLAINTIFF’S BENCH BRIEF REGARDING DEFENDANTS’ PROFFERED TESTIMONY REGARDING
     MICROSOFT’S AGREEMENTS
     CASE NO. 3:23-CV-2880
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1    There are fundamental misunderstandings between the counterparties.3 Accordingly, the FTC

2    sought discovery into these Agreements and deposed Microsoft executives regarding the

3    business rationale, financial analyses, technical analyses, terms and conditions, and any internal

4    concerns. The FTC sought this testimony to test the basis of Defendants’ employees’ claims

5    regarding the supposed real-world benefits of the Agreements. Uniformly, Microsoft asserted

6    privilege over the underlying business premises of how they reached the terms of these

7    Agreements:

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28   PLAINTIFF’S BENCH BRIEF REGARDING DEFENDANTS’ PROFFERED TESTIMONY REGARDING
     MICROSOFT’S AGREEMENTS
     CASE NO. 3:23-CV-2880
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            Defense counsel has asserted that no analyses were withheld from the FTC and have cited
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     witness testimony to this effect. Exhibit A (FW: Meet and Confer Email). As the above passages
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     show, however, Defendants omit a critical detail: Microsoft witnesses claimed to be unaware of
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     non-privileged analyses.
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            Attorney-client privilege “may not be used both as a sword and a shield.” Chevron Corp.
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     v. Pennzoil Co., 974 F.2d 1156, 1162 (9th Cir. 1992) (quoting United States v. Bilzerian, 926
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     F.2d 1285, 1295 (2d Cir. 1991). Here, the FTC expects that Microsoft executives will continue to
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28   PLAINTIFF’S BENCH BRIEF REGARDING DEFENDANTS’ PROFFERED TESTIMONY REGARDING
     MICROSOFT’S AGREEMENTS
     CASE NO. 3:23-CV-2880
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1    testify about the Agreements’ purported benefits despite having wielded the privilege as a shield

2    to withhold information relevant to testing those purported benefits.

3             Defendants are incorrect that the FTC has been dilatory because it did not move to

4    challenge the privilege claims and compel testimony. Defendants protected this evidence from

5    discovery on grounds of attorney-client privilege, which the FTC assumed was made in good

6    faith and had no reason to contest at the time. See Vital Pharmaceuticals v PHD Marketing, Inc.,

7    2022 WL 2284544 at *3 (C.D. Cal. April 15, 2022) (“Defendants’ repeated assertion of the

8    attorney-client privilege over communications concerning this lawsuit…made it reasonable for

9    Plaintiffs to avoid inquiring further into these discussions.”).The FTC had no basis to compel

10   protected attorney-client information, but the FTC is entitled to prevent Defendants from

11   selectively waiving that privilege to (1) elicit testimony as to the beneficial effects of the

12   Agreements and/or (2) allow Dr. Carlton, one of their experts, to base his opinions regarding the

13   procompetitive effects of witnesses whose foundation is locked behind privilege.

14            The same privilege issues taint Microsoft’s arguments related to the purported benefits of

15   its international remedies. As counsel for Microsoft explained at the June 21 conference with the

16   Court,7 Defendants claimed privilege over information related to remedies Microsoft offered to

17   the European Commission. Yet, Microsoft’s Pre-Trial Findings of Fact prominently feature these

18   remedies as evidence against the alleged anticompetitive harms.

19            In any event, neither the Agreements nor the international remedies have a place in this

20   proceeding. The narrow purpose of a §13(b) proceeding does not extend even to the initial

21   question of liability, FTC v. Warner Commc’ns Inc., 742 F.2d 1156, 1164 (9th Cir. 1984), let

22   alone to the subsequent question of what remedy might be appropriate if the administrative

23   proceeding ultimately yields a finding of liability. See FTC v. Food Town Stores, Inc., 539 F.2d

24   1339, 1345 (4th Cir. 1976) (holding FTC was “entitled to preserve the status quo pending

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27       Case Management Conference, FTC v. Microsoft, 3:23-CV-2880 (N.D. Cal. June 21, 2023)

28   PLAINTIFF’S BENCH BRIEF REGARDING DEFENDANTS’ PROFFERED TESTIMONY REGARDING
     MICROSOFT’S AGREEMENTS
     CASE NO. 3:23-CV-2880
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1    adjudication” regardless of what “ultimate remedy” might eventually be deemed appropriate).

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5                                                      Respectfully submitted,

6                                                      /s/ James H. Weingarten
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     MICROSOFT’S AGREEMENTS
     CASE NO. 3:23-CV-2880
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